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 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3
 4    UNITED STATES OF AMERICA,               )                 Case No. 2:13-cr-00355-GMN-CWH
                                              )
 5                Plaintiff,                  )
                                              )
 6          v.                                )
                                              )
 7    GREGORY VILLEGAS,                       )                 ORDER
                                              )
 8                Defendant.                  )
                                              )
 9    _______________________________________ )
10           Presently before the Court are the government’s three motions to strike (ECF Nos. 280, 281,
11    and 282), filed on December 8, 2016. The government moves to strike three of Defendant’s pro se
12    filings (ECF Nos. 277, 278, and 279). Defendant’s filings appear to be duplicates.
13           Under Local Rule IA 11-6(a), a represented party cannot personally file documents with the
14    court. All filings must be made by his or her attorney. Defendant is represented by attorney Gabriel
15    Grasso in this matter.
16           IT IS THEREFORE ORDERED that the government’s motions to strike (ECF Nos. 280, 281,
17    and 282) are GRANTED. The Clerk of Court shall STRIKE Defendant’s filings (ECF Nos. 277,
18    278, and 279).
19
20           DATED: December 9, 2016.
21
22                                                         _________________________________
                                                           C.W. Hoffman, Jr.
23                                                         United States Magistrate Judge
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